Case 2:23-cv-16873-MCA-MAH           Document 64          Filed 07/23/24   Page 1 of 2 PageID: 375




                                        The Le gal Ce nter
                                      One Ri ver fr ont Pl a za
                                    New ar k, N ew Jer s e y 0 7 102
                                       Tel : (9 73 ) 643 - 70 00
                                       Fa x (9 73 ) 6 43- 65 00




                                                                                         101 Park Avenue
                                                                                                 28th Floor
                                                                                      New York, NY 10178
                                                                                       Tel: (212) 643-7000
                                                                                       Fax: (212) 643-6500
   Joseph B. Shumofsky
   Member
   Admitted In NJ, NY                                                        222 Lakeview Avenue, Suite 800
   Direct Dial: 973-643-5382                                                     West Palm Beach, FL 33401
   Email:                                                                                Tel: (561)-693-0440
   jshumofsky@sillscummis.com                                                           Fax: (561)-828-0142




                                            July 23, 2024
  VIA ECF
  Honorable Michael A. Hammer
  United States District Court
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

                 RE: Nina Agdal v. Dillon Danis, 23-CV-16873-MCA-MAH

  Dear Judge Hammer,

         We are writing regarding Defendant’s failure to produce responsive materials from X
  (formerly Twitter), the social media platform on which Defendant carried out most of the
  offending conduct at issue in this case. At the Court’s suggestion, immediately following the
  OTSC conference on July 11, Defendant initiated a download of data from X in the courtroom.
  Those efforts were successful, but it became apparent the download could not be completed in
  the courtroom, and it just was a matter of time until the download would finalize and then
  Defendant would transmit the data to Plaintiff in a legible format.

         It has been over a week since the initiation of the X download, and Defendant still has not
  received the data. Last Wednesday, following a deposition in this case (which Defense counsel
  attended via Zoom), when we inquired of Defense counsel regarding the status of the X
  production, Defense counsel acknowledged Defendant owes Plaintiff the X materials but
  remarked something to the effect of that Defendant had “reverted to his old ways.”
Case 2:23-cv-16873-MCA-MAH           Document 64        Filed 07/23/24     Page 2 of 2 PageID: 376




  Honorable Michael A. Hammer
  July 23, 2024
  Page 2

          The next day, July 18, we sent an email to Defense counsel inquiring again about the
  status of the X data production. We asked for the production by the end of the day on Friday
  (July 19), with assurances that Defendant had not used the delay to tamper with the X data (i.e.,
  removing/deleting responsive material) in advance of producing it to Plaintiff. We also offered to
  have a call with Defense counsel to discuss the issue, if needed. We have not received a response
  to that email.

          Although the Court’s Order, dated July 11, 2024 (D.E. 63), affords Defendant until
  August 18, 2024, to produce all outstanding responsive materials and to provide a certification
  confirming the completeness of the production, the Court differentiated between the X materials
  and all other responsive materials (explaining that the certification to be provided would be
  “exclusive of those related to X”), recognizing that production of the X materials already was
  underway and would be produced relatively soon. Indeed, considering the download of the X
  data was initiated over a week ago and it only was a matter of time before the data could be
  produced, Plaintiff does not understand why the materials have not yet been provided. More
  importantly, considering we did not receive a response to the most recent request for an update
  on the X production and Defense counsel’s prior remark about Defendant “reverting to old
  ways,” we are concerned Defendant may use the additional time to alter or otherwise improperly
  interfere with the production of the X materials.

          Accordingly, we respectfully request that the Court issue an Order (i) directing Defendant
  to produce the X materials by end of the day on Friday, July 26, 2024, along with a certification
  from Defendant that the X materials produced have not been altered in any way and that no
  responsive materials were withheld or removed (other than for attorney-client privilege), and if
  Defendant fails to do so (Plaintiff will advise the Court if it receives the production and
  certification), (ii) scheduling an in-person conference that Defendant must attend, as soon as
  Your Honor is available, at which Defendant must explain the delay in producing the X materials
  and provide confirmation the data is not being deleted or altered.

         Thank You for Your Honor’s consideration.

                                                      Respectfully submitted,

                                                      /s/ Joseph B. Shumofsky
                                                      Joseph B. Shumofsky
                                                      Jeffrey Neiman
                                                      Jason L. Mays

  cc: Counsel for Defendant Dillon Danis (via ECF)
